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   IT IS ORDERED as set forth below:



   Date: January 5, 2022
                                                      _________________________________

                                                                Paul W. Bonapfel
                                                          U.S. Bankruptcy Court Judge
  _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                            :      CHAPTER 7
                                                  :
HP/SUPERIOR, INC.                                 :      CASE NO. 14-71797 - PWB
                                                  :
         Debtor.                                  :
                                                  :


                   ORDER APPROVING SETTLEMENT AGREEMENT

         On November 24, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of HP/Superior, Inc. (“Debtor”), filed his Motion

for Order: (A) Authorizing Settlement Between Trustee and the Internal Revenue Service under

Federal Rules of Bankruptcy Procedure Rule 9019; (B) Establishing the Extent and Priority of

the Lien Interest of the Internal Revenue Service in Accordance with the Proposed Settlement;

and (C) Authorizing Trustee to Make Certain Distributions of Property of the Estate [Doc. No.




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269] (the “Motion”).1

         In the Motion, Trustee requests, among other things, an order from the Court approving a

settlement agreement (the “Settlement Agreement”) between Trustee and the Internal Revenue

Service (the “IRS” and with Trustee, the “Parties”) through which, inter alia,2 the Parties agree

that the IRS shall have a secured claim and lien in the Remaining Encumbered Funds in the

amount of $1,248,000.00 (the “IRS Secured Claim”). In addition, within five (5) business days

of this Order becoming a final order, Trustee shall pay the United States of America $900,000.00

of the IRS Secured Claim from the Remaining Encumbered Funds (the “IRS Secured Claim

Payment”). Moreover, effective upon this Order becoming a final order, the IRS grants and

conveys to the Bankruptcy Estate a carve-out from the IRS Secured Claim in the amount of

$348,000.00 (the “Estate Carve-Out”). Following the IRS Secured Claim Payment, and except

for the Estate Carve-Out which will be free and clear and available for Trustee to distribute under

11 U.S.C. § 726, the IRS Secured Claim shall be fully satisfied. In addition, effective upon this

Order becoming a final order, the IRS proof of claim [Claim No. 19-2] (the “Second IRS Proof

of Claim”) for post-petition withholding taxes shall be allowed as a Chapter 11 administrative

expense claim, and the IRS will receive payment on the Second IRS Proof of Claim on a pro-rata

basis with other holders of allowed Chapter 11 administrative expense claims. And, effective

upon this Order becoming a final order, the IRS shall not have a pre-petition lien or secured

claim in the Post-Petition Medicaid Funds. Finally, within ten (10) business days of this Order


1
        Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Settlement Motion [Doc. No. 269].
2
        The following is a summary of the Motion and the Settlement Agreement and is not
intended to be comprehensive. To the extent that anything in this summary is contrary to the
relief sought in the Motion or the terms of the Settlement Agreement, the requests sought in the
Motion and the terms of the Settlement Agreement shall control.



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becoming a final order, Trustee and the IRS shall file a stipulation dismissing with prejudice the

Adversary Proceeding styled as Hays v. Department of Treasury – Internal Revenue Service

(Adv. Pro. No. 21-5048-PWB).

         On November 29, 2021, Trustee filed a Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 270] (the “Notice”), in accordance with General Order No. 24-2018, and

setting a hearing on the Motion on January 6, 2022 (the “Hearing”). Counsel for Trustee

certifies that he served the Notice on all requisite parties in interest. [Doc. No. 271].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

         FOUND and DETERMINED that the Settlement Agreement is in the best interests of

the Bankruptcy Estate and its creditors. It is further

         FOUND and DETERMINED that the IRS has a secured claim in the Remaining

Encumbered Funds in the amount of $1,248,000.00. It is further

         FOUND and DETERMINED that the notice of the Motion and Hearing was appropriate

under the Federal Rules of Bankruptcy Procedures and the circumstances of Debtor’s bankruptcy

case. It is further

         ORDERED that the Settlement Motion is GRANTED. It is further

         ORDERED that the Settlement Agreement is APPROVED and the terms of the




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Settlement Agreement are incorporated herein by reference. It is further

         ORDERED that Trustee is authorized and directed to make the IRS Secured Claim

Payment to the United States of America in the amount of $900,000.00, consistent with the terms

of the Settlement Agreement. It is further

         ORDERED that the Estate Carve-Out in the amount of $348,000.00 is approved,

consistent with the terms of the Settlement Agreement. It is further

         ORDERED that the Parties may take any other actions necessary to effectuate the terms

of the Settlement Agreement without further order from this Court. It is further

         ORDERED that this Court retains jurisdiction (i) to interpret, implement, and enforce

this Order, (ii) to resolve any disputes regarding or concerning the Settlement Agreement, and

(iii) to enter such other and further orders as may be necessary, just, or proper as an aid to

enforcement or implementation of this Order.

                                   [END OF DOCUMENT]

Order prepared and presented by:

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